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 3
     Telephone: (559) 497-6132
 4
     Attorney for Defendant,
 5   ROBERT ZAVALA, Jr.
 6
 7                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                 EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                                 Case No. 1:19-CR-00014 DAD-BAM

11           Plaintiff,                                        STIPULATION TO MODIFY
                                                               SENTENCING SCHEDULE
12                  v.                                         AND ORDER THEREON

13   ROBERT ZAVALA, Jr.,                                       DATE: June 29, 2020
                                                               TIME: 10:00 a.m.
14          Defendant.                                         Courtroom 5

15                                                             Honorable Dale A. Drozd

16
17          Defendant, ROBERT ZAVALA, Jr., by and through her counsel, John F. Garland and the
18
     United States of America, by and through its counsel, McGregor W. Scott, United States
19
     Attorney and Ross Pearson, Assistant United States Attorney, hereby stipulate to modify the
20
     defendant's sentencing schedule as set forth below:
21
22                                                  BACKGROUND

23          On February 3, 2020 defendant, Robert Zavala, Jr. entered a plea of guilty to Count One of
24
     the Indictment. The Court ordered a Presentence Investigation Report and set the sentencing
25
     hearing on May 11, 2020. (Doc. 130) The United States Probation Office (USPO) issued a
26
     Sentencing Schedule on February 7, 2020 wherein the dates for the preparation and filing of
27
28   sentencing documents are set forth. The draft Presentence Investigation Report (PSR) (Doc. 142)
                                                          1
     ___________________________________________________________________________________________________________________
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     was timely served on the parties on March 27, 2020. On April 13, 2020 the defendant timely
 1
 2   served his Informal Objections to the PSR on the USPO and counsel for the government. On

 3   April 20, 2020 the USPO served the Revised PSR together with the USPO's Response to

 4   defendants Informal Objections (Doc. 147) The defendant's Informal Objections are not resolved
 5
     therefore Formal Objections to the PSR are necessary. Pursuant to the Sentencing Schedule,
 6
     defendant's Formal Objections must be filed and served on April 27, 2020.
 7
              On April 23, 2020 the Court filed a Minute Order (Doc. 151) continuing Robert Zavala,
 8
 9   Jr.'s sentencing hearing to June 29, 2020. In light of the continued sentencing hearing, the

10   modification of the Sentencing Schedule is appropriate and will allow the defendant and counsel
11
     for the government additional time to prepare and file Formal Objections to the PSR and
12
     additional sentencing pleadings.
13
                                                   STIPULATION
14
15            Therefore, the parties stipulate that the Sentencing Schedule prepared by the United

16   States Probation Office be modified as follows:
17            Formal Objections Filed with Court and Served on Probation                                June 15, 2020
18                  on Opposing Counsel.

19            Reply, or Statement of Non-Opposition:                                                    June 22, 2020
20            Judgment and Sentencing Date:                                                             June 29, 2020
21
22
           IT IS SO STIPULATED:
23
24
     Dated: April 27, 2020                                          /s/ John F. Garland
25                                                                     John F. Garland
                                                                   Attorney for Defendant
26                                                                 ROBERT ZAVALA, Jr.
27
28
                                                          2
     ___________________________________________________________________________________________________________________
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 1   Dated: April 27, 2020                                           McGregor W. Scott
 2                                                                  United States Attorney

 3                                                                 /s/ Ross Pearson
                                                               By:     Ross Pearson
 4                                                              Assistant U.S. Attorney
 5
 6                                                ORDER

 7            GOOD CAUSE APPEARING, based on the stipulation of the parties,
 8
     IT IS HEREBY ORDERED that the sentencing schedule for defendant ROBERT ZAVALA, Jr.
 9
     is modified as follows:
10
         Formal Objections Filed and Served on Probation and Opposing Counsel                        June 15, 2020
11
12      Reply, or Statement of Non-Opposition:                                                        June 22, 2020

13      Judgment and Sentencing Date:                                                                June 29, 2020
14
15   IT IS SO ORDERED.

16       Dated:      April 27, 2020
17                                                              UNITED STATES DISTRICT JUDGE

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     ___________________________________________________________________________________________________________________
